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                 EXHIBIT A
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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF IOWA


 ORCUN SELCUK; ALAN DAVID
 GWILLIAM; TINGTING ZHEN;                              Case No. 4:24-cv-390
 MICHAEL BROKLOFF; and THE
 LEAGUE OF UNITED LATIN
 AMERICAN CITIZENS OF IOWA, on
 behalf of itself and its members,            SUPPLEMENTAL DECLARATION
                                                         OF
    Plaintiffs,                                     MICHAEL ROSS

    v.

 PAUL D. PATE, in his official capacity
 as the Iowa Secretary of State;
 BENJAMIN D. STEINES, in his official
 capacity as the Winneshiek County
 Auditor and Winneshiek County
 Commissioner of Elections; JAMIE
 FITZGERALD, in his official capacity
 as the Polk County Auditor and Polk
 County Commissioner of Elections;
 MELVYN HOUSER, in his official
 capacity as the Pottawattamie County
 Auditor and Pottawattamie County
 Commissioner of Elections; ERIN
 SHANE, in her official capacity as the
 acting Johnson County Auditor and
 acting Johnson County Commissioner
 of Elections; and KERRI TOMPKINS,
 in her official capacity as the Scott
 County Auditor and Scott County
 Commissioner of Elections,

    Defendants.

         COMES NOW, Michael Ross, and pursuant to 28 U.S.C. § 1746, declares under

penalty of perjury that the following is true and correct:

         1. I am the Chief of Staff and Deputy Secretary of State (“Chief of Staff”) for

            the Secretary of State of Iowa.
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   2. The facts included in this affidavit are within my personal knowledge.

   3. The facts and processes outlined herein are within the normal course of

      operations and commensurate with my duties as Chief of Staff.

   4. The SoS has authority over election processes under Iowa Chapter 47.1 as

      the state commissioner of elections.

   5. This authority includes the ability to proscribe uniform election practices

      and procedures and to issue guidance under Iowa Chapter 47.1(1).

   6. Iowa Code Chapter 47.1(6) affords the SoS the authority to examine

      records and evaluate complaints to ensure compliance with state election

      laws.

   7. This includes the ability to pose challenges to registered voters or ballots.

   8. There are a number of instances where a document other than a driver’s

      license would be required to prove voter qualifications, such as citizenship,

      which are not indicated on an Iowa Driver’s license or to cure a 48A

      challenge.

   9. If a 48A challenge was brought based on allegations that someone was a

      convicted felon, prior to Executive Order 7, that challenge would be cured

      by that individual providing a secondary document such as the certificate

      and/or letter they received from the Governor restoring their right to vote.

   10. If a 48A challenge was brought on the basis of the voter having been judged

      incompetent, the challenged individual would have to cure that by
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      providing a court-order rescinding that prior determination and finding

      they were competent once again.

   11. Similarly, if someone brought a 48A challenge based on residency, and that

      person had used an out-of-state driver’s license to prove their identity, or

      an Iowa driver’s license issued with a previous address, the challenged

      individual would have to provide further proof of residency such as through

      a utility bill.

   12. Further, in my role as Chief of Staff, I have assisted in the preparations

      made by our office for the 2024 elections. These preparations are outlined

      in detail in State’s Exhibit A.

   13. Additional preparations Secretary of State’s Office Staff (“SOS”) have

      made include exploring ways to maintain the integrity of Iowa’s voter rolls.

   14. To that end, I have sought to educate myself regarding the processes used

      by other states in maintaining their own voter rolls.

   15. In early July of 2024, I attended the National Association of Secretaries of

      State (“NASS”) conference where I had the opportunity to discuss election

      security with colleagues from across the U.S.

   16. During the NASS conference, I had the opportunity to observe a

      presentation provided by my colleagues from Georgia regarding the use of

      federal SAVE files to verify the citizenship status of registered voters. It

      was mentioned during the course of the state of Georgia’s presentation that
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      it was taking anywhere from four to five months to obtain access to the

      federal SAVE files.

   17. Upon my return to Iowa, I communicated with the SoS elections team

      regarding our processes for verification of registered voters’ citizenship

      status.

   18. Based upon my discussions with the SoS team, I had conversations with

      my colleagues in Ohio about how their process for verifying citizenship of

      voters worked. During these conversations, these colleagues mentioned

      they had been able to verify the citizenship status of registered voters by

      using records from their Department of Transportation and comparing

      them against the Ohio voter lists with several unique identifiers.

   19. Also in July, I was approached by Iowa legislators with concerns regarding

      the integrity of Iowa’s voter rolls.

   20. After multiple discussions with my colleagues at the Iowa Department of

      Transportation (“IDOT”), I became aware they had information which

      could assist the SoS in verifying the citizenship status of registered voters.

   21. On October 1, 2024, the SoS formally requested the records from IDOT.

   22. On October 7, 2024, the SoS received the requested records from IDOT.

   23. Between October 7, 2024, and October 22, 2024, my staff and I worked

      hard to run the comparisons between the two lists making sure to take due

      diligence to verify all comparative data points.
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   24. Multiple people on my staff reviewed the list, and ultimately by myself, to

      ensure the list was as accurate as possible based on the data points we

      had.

   25. As part of my review, I narrowed the list to an ten-year look back period

      wherein I evaluated whether that individual had registered to vote or

      voted in the past ten years.

   26. If an individual had not registered or voted in the past ten years, I removed

      them from the list.

   27. There is an additional 16 people on the list who fall outside of that range

      for unknown reasons.

   28. Late on the night of Thursday, October 24, an agent from the Iowa field

      office of the United States Citizenship and Immigration Services

      (“USCIS”) left a message with our call center indicating he had been

      reading about this situation and that he would be able to look these

      individuals up to confirm their citizenship status.

   29. I received his message and contacted him on Friday, October 25, 2024.

   30. During the call, we agreed we would provide the list to him and he would

      look each person up individually and provide us with the results.

   31. That day, we provided the list to USCIS.

   32. I had a phone conversation with him that night in which he indicated that

      he had gone through 146 names at that point, with 18% of those

      individuals being non-citizens.
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       33. On Monday, October 28, 2024, the agent indicated he had a few more

          individuals to review to confirm their citizenship status.

       34. Later that day, he informed me the list comparison was complete and

          advised that SoS needed to fill out certain forms which we filled out and

          sent back

       35. The agent provided additional forms, which we completed that day.

       36. The agent informed me that his review had revealed 12% of the self-

          identified individuals on the list were not citizens.

       37. SoS was ultimately informed on Tuesday, October 29, 2024, that the

          Washington, D.C. branch of USCIS did not want to release the information

          as it would require extensive review and oversight.

I declare under penalty of perjury the foregoing is true and correct.



Executed on: November 1, 2024                 /s/ Michael Ross_ ____
                                              Michael Ross
